8:09-cr-00048-LES-TDT   Doc # 189    Filed: 05/09/11    Page 1 of 1 - Page ID # 696



           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to extend (Filing No. 188).         The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted;

plaintiff shall have until May 27, 2011, to file a response to

defendant’s motion for deportation.

           DATED this 9th day of May, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
